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 2                                                                        1/11/2021
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 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11    ONOME ONOKOHWOMO,                             ) Case No.: CV 20-00261-CJC(SKx)
                                                    )
12                                                  )
                  Plaintiff,                        )
13                                                  )
            v.                                      )
14                                                  ) JUDGMENT
                                                    )
15    STERLING JEWELERS, INC.,                      )
                                                    )
      ARNULFO DIAZ, and DOES 2–20,                  )
16
                                                    )
17                                                  )
                  Defendants.                       )
18                                                  )
19

20          This matter came before the Court on Defendants’ motion for summary judgment.
21    In accordance with the Court’s Order, (Dkt. 29), IT IS HEREBY ORDERED that
22    judgment is entered in favor of Defendants.
23

24      DATED: January 11, 2021
25

26
                                                HON. CORMAC J. CARNEY
27

28                                          UNITED STATES DISTRICT JUDGE

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